                                IN THE UNITED STATES DISTRICT COURT
                                   EASTERN DISTRICT OF TENNESSEE
                                         KNOXVILLE DIVISION

 JESSE PIERCE and MICHAEL PIERCE,    )
 on behalf of themselves and all others
                                     )
 similarly situated,                 )                               CASE NO. 3:13-cv-641
                                     )
 Plaintiffs,                         )                               District Judge: Pamela L. Reeves
                                     )                               Magistrate Judge: Debra C. Poplin
 vs.                                 )
                                     )
 WYNDHAM VACATION RESORTS,           )                               COLLECTIVE ACTION COMPLAINT
 INC., and WYNDHAM VACATION          )                               FOR VIOLATIONS OF THE FAIR
 OWNERSHIP, INC.,                    )                               LABOR STANDARDS ACT OF 1938
                                     )
 Defendants.                         )
 ____________________________________)

                             REPLY IN SUPPORT OF PLAINTIFFS’ BRIEF
                            REASSESSING DAMAGES FOLLOWING APPEAL

             Pursuant to the Court’s July 12, 2019 Order (Doc. 465), Plaintiffs1 file the following

 Reply in Support of Plaintiffs’ Brief Reassessing Damages Following Appeal.

 I.          WYNDHAM’S                ARGUMENTS                ARE        OVERTLY             MISLEADING   AND
             MERITLESS.

             A.       The Record Does Not Support Wyndham’s Wild Assertion That The District
                      Court Found Plaintiffs Not Credible In Their Testimony Regarding The
                      Number of Hours Worked On Average Each Week.

             Despite overwhelming evidence to the contrary, in their opening brief, Wyndham argued

 that the District Court rejected Plaintiffs’ average number of hours worked because it found

 Plaintiffs were “not credible.” In its Response, Wyndham concedes that the District Court found

 Plaintiffs credible as to liability issues, but now blindly asserts that the District Court found

 Plaintiffs “not credible” as to damages, due to their “outrageously high” testimony regarding the



 1
      For purposes of this Brief, “Plaintiffs” refer to the named Plaintiffs and Opt-in Plaintiffs.




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 number of hours worked each week.2                 Like in its opening brief, noticeably absent from

 Wyndham’s Response is any citation to the record where the District Court made such findings.

 This is because, unlike the damning credibility determinations the District Court made with

 regard to Wyndham’s witnesses, nowhere in the District Court’s 157-page Memorandum

 Opinion did the District Court make any finding whatsoever that Plaintiffs’ testimony was “not

 credible.” To the contrary, the District Court found that Plaintiffs and Plaintiffs’ witness were

 “highly credible,” whereas the District Court explicitly found that none of Wyndham’s witnesses

 were credible. Thus, Wyndham’s assertion is simply a gross fabrication and mischaracterization

 of the record.

         Moreover, Wyndham’s new “Plaintiffs-were-credible-as-to-liability, but-not-credible-as-

 to-damages” argument is completely contrary to Wyndham’s repeated arguments on appeal that

 the District Court’s award was the result of “arbitrary number picking,” designed to “make both

 sides unhappy.”3 (Plaintiffs’ Resp., Doc. 471, pp. 6-8.) Wyndham cannot have it both ways:

 either the District Court made a determination based upon a reasoned analysis consistent with

 Mt. Clemens, or it engaged in “arbitrary number picking.” Plaintiffs agree that it was the latter –

 arbitrary number picking unsupported by the record and inconsistent with the Mt. Clemens

 framework.

 2
   Wyndham hypocritically describes Plaintiffs’ 60-plus hour estimates “outrageously high,” even though its greed
 was the catalyst for the long hours it required Plaintiffs to work. Wyndham made 85 to 96% of each and every
 dollar its Sales Representatives brought in, as Wyndham only paid Sales Representatives commissions ranging from
 4 to 15%. (Tr., Vol. X, Doc. 393, PageID ##11833-11834.) (Even then, less than 1% of Wyndham’s Sales
 Representatives generated enough sales to earn the maximum 15% commission. Id.) Wyndham’s greed, coupled
 with the fact that Wyndham did not pay its Sales Representatives overtime because of its systematic wage theft,
 incentivized it to work its Sales Representatives for as long and as hard as Wyndham could get away with it.
 3
   Plaintiffs have already identified the countless times and various ways that Wyndham identified the Magistrate
 Judge’s award as arbitrarily pulling the 52-hour number out of “thin air.” (Plaintiffs’ Resp., Doc. 471, pp. 6-8.)
 Therefore, to avoid repetition, Plaintiffs rely on their Response, rather than repeating their arguments here.

                                                         2



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        If the Magistrate Judge truly believed Plaintiffs were not credible, the Magistrate Judge

 would have explicitly stated so, just as he explicitly found that Wyndham’s witnesses were not

 credible no less than 15 times in his Memorandum Opinion.

        Wyndham’s new position is contrary to the record evidence and the District Court’s

 credibility determinations. As a result, there is no justification for rejecting Plaintiffs’ testimony

 regarding the number of hours they worked or for the Court to accept Wyndham’s newly

 contrived and inaccurate damages model, which conflicts with the Supreme Court’s burden-

 shifting framework in Mt. Clemens.

        B.      Wyndham’s Newly Contrived Damages Model Is Objectively Unreliable As It
                Is Based Upon Plaintiffs’ Off-The-Clock Study Which Wyndham Previously
                Represented To The Court Was Incomplete And Inaccurate.

        After the District Court found that every single one of Wyndham’s witnesses was not

 credible and thoroughly rejected their testimony as to both liability and damages, in a last ditch

 effort, Wyndham now proposes that the Court accept a contrived damages model based upon

 Plaintiffs’ Off-The-Clock Study that Wyndham, itself, previously represented to the Court was

 incomplete and, therefore, inaccurate, and tried to exclude from evidence.

        As set forth more fully in Plaintiffs’ Response (Plaintiffs’ Resp., Doc. 471, pp. 8-15),

 Plaintiffs prepared the Off-The-Clock Study to show that Plaintiffs were often working off the

 clock when they made a sale and, thus, introduce conclusive documentary evidence of

 Wyndham’s illegal policy and practice of requiring Sales Representatives to work off the clock

 to avoid paying overtime. Plaintiffs compiled the Off-The-Clock Study from spreadsheet data

 produced by Wyndham, which purportedly contained the date and time all contracts were

 generated by Plaintiffs.

        However, on the very first day at trial, Wyndham’s counsel represented to the Court that

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 Plaintiffs’ Off-The-Clock Study was incomplete as it did not identify all the contracts Plaintiffs

 closed, and, therefore, should be excluded as inaccurate. (Tr., Vol. II, Doc. 377, PageID

 ##9550-9551.) Opt-in Plaintiff Craig Thrift also testified that when he compared the Off-The-

 Clock Study with his Wyndham sales commission statements, he discovered that his sales

 commission statements showed “far more” contracts than those listed on the Off-The-Clock

 Study. (Tr., Vol. II, Doc. 377, PageID #10277.) Therefore, it was conclusively established at

 trial that Plaintiffs’ Off-The-Clock Study was incomplete and captured only a portion of the

 contract closings Plaintiffs performed.

          Despite this fact, Wyndham now blatantly misrepresents to the Court that Plaintiffs’ Off-

 The-Clock Study documents “the date and time that sales were made during the class period,”

 and is the “best evidence on the issue of how late Plaintiffs worked.”4 (Wyndham’s Brief, Doc.

 467, p. 8.)

          Contrary to Wyndham’s assertions, Plaintiffs’ Off-The-Clock Study is not “devastating to

 the credibility of [Plaintiffs’] testimony regarding how many hours a week they worked.”

 (Wyndham’s Resp., Doc. 470, p. 9.) Rather, it is devastating to the credibility of Wyndham, as

 Wyndham has intentionally misrepresented to the Court the nature of Plaintiffs’ Off-The-Clock

 Study, despite knowing for almost two years that the Off-The-Clock Study does not capture all

 contracts Plaintiffs generated as Wyndham now suggests. As a result, rather than being based

 upon “objectively reliable evidence” of how late Plaintiffs worked, Wyndham’s damages model

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  As set forth in Plaintiffs’ Response, the Off-The-Clock Study also does not take into account the long hours Sales
 Representatives spent each week on tours trying to make a sale, but failing to close the deal; or the long hours Sales
 Representatives spent each week attending morning meetings, engaging in lengthy sales processes and training,
 working Nightline, and attending party weekends, dinner parties and other work related activities; working 6 days
 per week (“6/1s”) and often 7 days per week; being on-call 24/7, which resulted in Plaintiffs spending many hours
 each week answering or making phone calls when they were away from Wyndham’s properties; or working on their
 days off for “Hero Tours,” continuances, or “be-backs” to accommodate the schedules of Wyndham’s customers.

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 is completely unreliable as it is based upon the Off-The-Clock Study Wyndham’s own counsel

 tried to exclude at trial as being incomplete and inaccurate. As a result, the Court should reject

 Wyndham’s newly contrived damages model.

        C.      Mt. Clemens Mandates That The District Court Enter An Award For
                Plaintiffs Based Upon Their Estimated Average Number Of Hours Worked
                Each Week.

        Wyndham disingenuously claims that “Plaintiffs failed to present the Court with any

 model to consider.” (Wyndham’s Resp., Doc. 470, p. 2.) The only “model” to consider,

 however, is the burden-shifting framework of Mt. Clemens, which Plaintiffs have relied upon

 since day one and which Wyndham has ignored.

         As pointed out by Wyndham, the District Court awarded Plaintiffs damages based upon

 an average of 52 hours per week after the Court found the following:

        The Court is mindful that the time records are essentially of no use due to their
        falsity and inaccuracy. The Court is also mindful that the estimates of hours of all
        witnesses were, at best, estimates of hours worked years ago. The Court is also
        mindful that each witness may have been somewhat biased, high or low, in their
        respective testimony and estimates on hours worked.

 (Memo. Opinion, Doc. 427, p. 156.) As a result, instead of accepting Plaintiffs’ testimony of

 their weekly average and the overwhelming proof in the record, the District Court substantially

 reduced Plaintiffs’ average number of hours worked, by arbitrarily cutting their overtime claim

 in half, because Plaintiffs only testified to “estimates” which “may have been somewhat biased.”

 Id. (emphasis added).

        Mt. Clemens and its progeny, however, compel a different result, as they hold that where

 the employer violates its legal duty to keep accurate hours of work, the employees’ own

 testimony is the best evidence of Plaintiffs’ damages. Therefore, “where the employer’s records

 are inaccurate or inadequate and the employee cannot offer convincing substitutes,” the solution

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 is “not to penalize the employee by denying him any recovery on the ground that he is unable to

 prove the precise extent of uncompensated work.” Anderson v. Mt. Clemens Pottery Co., 328

 U.S. 680, 686–87 (1946) (emphasis added). Rather, an employee has the relaxed burden of

 proving that he has in fact performed work for which he was improperly compensated and

 providing sufficient evidence of the amount and extent of that work. Id. at 687.

        The burden then shifts to the employer to “to come forward with evidence of the precise

 amount of work performed or with evidence to negative the reasonableness of the inference to be

 drawn from the employee’s evidence.” Id. If the employer fails to do, the court may award

 damages to the employee, “even though the result be only approximate.” Id. (emphasis added);

 see also Bautista Hernandez v. Tadala’s Nursery, Inc., 34 F. Supp. 3d 1229, 1242 (S.D. Fla.

 2014) (holding that where the employer has not kept such records, “the court must look to other

 evidence,” which “will frequently be anecdotal and imprecise, as employees seldom keep

 records regarding their own work. . . Employees, therefore, may recover even though the amount

 may be uncertain and the damages difficult to calculate”) (emphasis added); Washington v.

 Miller, 721 F.2d 797, 803 (11th Cir. 1983) (finding farmwork employees met prima facie burden

 despite fact that their “[t]estimony as to the hours worked varied widely and was often confused

 and contradictory”) (emphasis added); Reeves v. Int’l Tel. & Tel. Corp., 616 F.2d 1342, 1352

 (5th Cir. 1980) (permitting estimation of hours based upon “rough computations of [plaintiff’s]

 subconscious mind”) (emphasis added); Marshall v. Mammas Fried Chicken, Inc., 590 F.2d 598,

 599 (5th Cir.1979) (finding that employee met prima facie burden with evidence that was

 demonstrably inaccurate, as the inaccuracy was due to the employer’s failure to keep more

 accurate records).

        Wyndham claims that Plaintiffs have failed to cite to any authority which would support

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 the Court just accepting Plaintiffs’ testimony of their estimated average number of hours worked

 in light of the record evidence demonstrating that Wyndham failed to rebut Plaintiffs’ proof,

 because such an “illogical interpretation of Mt. Clemens has not been adopted by courts in the

 Sixth Circuit.” (Wyndham’s Resp., Doc. 470, p. 15.) Once again, Wyndham is incorrect, as

 demonstrated below. Worse still, Wyndham is advocating that this Court do what Mt. Clemens

 specifically prohibits, i.e., “penalize the employee . . . on the ground that he is unable to prove

 the precise extent of uncompensated work” and thereby reward Wyndham for its systemic and

 fraudulent record keeping violations.      Mt. Clemens, 328 U.S. at 686–87 (1946) (emphasis

 added).

           In Cowan v. Treetop Enterprises, 163 F. Supp. 2d 930, 935, 2001 WL 987231 (M.D.

 Tenn. 2001), plaintiffs alleged that their employer misclassified them as exempt and failed to pay

 them overtime. From the testimony of those plaintiffs who testified, the District Court for the

 Middle District of Tennessee found that the average number of hours worked by plaintiffs was

 89.04 hours per week. Id. at 935. Pursuant to the burden-shifting framework of Mt. Clemens,

 the burden then shifted to the defendants to rebut plaintiffs’ evidence.

           To dispute plaintiffs’ hours, defendants cited to company cost reports and testimony from

 several current employees. Id. at 936. However, the District Court found the reports inaccurate

 and unreliable, and found that defense witnesses’ experiences were not representative of

 plaintiffs’ actual work experiences. Id. at 936-37. As a result, the District Court found that

 defendants failed to meet their burden, and entered an award for plaintiffs based upon their

 testimony which resulted in an estimated average of 89.04 hours per week. Id. at 938. In

 properly applying Mt. Clemens, the District Court then extrapolated this average to the entire

 plaintiff class to determine the amount of overtime owed for the number of weeks of work

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 stipulated by the parties. Id.

        After finding that employers failed to rebut plaintiffs’ proof, other jurisdictions have,

 likewise, accepted plaintiffs’ testimony in arriving at an average number of hours worked since,

 even though necessarily imprecise, it is the best available evidence when the employer violates

 its recordkeeping duties. See also Donovan v. Hamm’s Drive Inn, 661 F.2d 316, 31718 (5th Cir.

 1981) (after finding employer failed to rebut plaintiffs’ evidence, the court awarded damages

 based upon plaintiffs’ testimony as to the average weekly hours they worked, and rendered them

 a judgment on those “admittedly approximate calculations”) (emphasis added); Sales v. Bailey,

 No. 2:12-CV-00056-SA-SAA, 2014 WL 3897726, at *13 (N.D. Miss. Aug. 8, 2014) (after

 finding that defendants failed to rebut plaintiffs’ evidence, the court accepted the plaintiffs’

 testimony as to their average number of hours worked); Romero v. Anjdev Enterprises, Inc., No.

 14 CIV. 457, 2017 WL 548216, at *5 (S.D.N.Y. Feb. 10, 2017) (accepting plaintiffs’ estimate

 that they worked 13-hour days after finding defendants failed to carry their burden to negate the

 reasonableness of plaintiffs’ estimate).

        In contrast, Wyndham cites to the case of Bauer v. Singh, No. 3:09-CV-194, 2010 WL

 5088126 (S.D. Ohio Dec. 7, 2010), claiming that “[e]ven though the court agreed that the

 company’s time records were not accurate, it did not enter judgment for the plaintiffs based on

 the number of hours they claimed to have worked.”          (Wyndham’s Resp., p. 470, p. 15.)

 Wyndham’s characterization of Bauer implies that its court entered an award for employees that

 was less than their claimed estimated average, despite the fact the employer’s time records were

 not accurate. However, this is just another example of Wyndham’s overt attempt to mislead the

 Court in this matter.

        Wyndham fails to mention that Bauer did not involve an award, a damages calculation, or

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 even a trial. In fact, the court did not even reject the number of hours plaintiffs claimed they

 worked, as insinuated by Wyndham. Rather, in Bauer, the court simply held that there were

 genuine issues of material fact that precluded summary judgment. Therefore, Bauer is not on

 point.

           By arguing that Plaintiffs’ estimated average is not accurate enough, Wyndham is

 essentially asking the Court to ignore Mt. Clemens. However,

           [d]isapproving of an estimated-average approach simply due to lack of complete
           accuracy would ignore the central tenant of Mt. Clemens—an inaccuracy in
           damages should not bar recovery for violations of the FLSA or penalize
           employees for an employer’s failure to keep adequate records. See id. at 688, 66
           S.Ct. 1187 (“The damage is therefore certain. The uncertainty lies only in the
           amount of damages arising from the statutory violation by the employer. In such
           a case ‘it would be a perversion of fundamental principles of justice to deny all
           relief to the injured person, and thereby relieve the wrongdoer from making any
           amend for his acts.’ “ (quoting Story Parchment Co. v. Paterson Parchment Co.,
           282 U.S. 555, 563, 51 S.Ct. 248, 75 L.Ed. 544 (1931))); see also Hamm’s Drive
           Inn, 661 F.2d at 318 (upholding an estimated-average approach and noting that
           “[e]vidence used to calculate wages owed need not be perfectly accurate, since
           the employee should not be penalized when the inaccuracy is due to a defendant’s
           failure to keep adequate records”).

 Monroe v. FTS USA, LLC, 860 F.3d 389, 412 (6th Cir. 2017), cert. denied, 138 S. Ct. 980

 (2018).

           Applying Mt. Clemens, the Sixth Circuit in Fegley v. Higgins, 19 F.3d 1126 (6th

 Cir.1994), “reversed a district court that refused to ‘extrapolate’ an approximation of damages

 and remanded the action for determination of damages in accordance with Mt. Clemens

 standards. The Plaintiffs need not prove their damages with precision.” Cowan, 163 F. Supp. 2d

 at 937 (citing Fegley, 19 F.3d at 1133). Wyndham is now attempting to coax this Court to do

 exactly what the Court in Fegley did that prompted the Sixth Circuit to reverse it.

           To hold that Plaintiffs’ estimated average is not accurate enough would penalize


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  Plaintiffs for Wyndham’s willful failure to keep accurate records, and essentially reward

  Wyndham for violating its statutory record-keeping obligations.          However, contrary to

  Wyndham’s position, these obligations “are not mere technicalities, but substantive obligations

  that are ‘fundamental underpinnings’ of the FLSA and critical to ensuring the statute’s

  effectiveness, for an employer’s ‘[f]ailure to keep accurate records can obscure a multitude of

  minimum wage and overtime violations.’” Moon v. Kwon, 248 F. Supp. 2d 201, 218 (S.D.N.Y.

  2002) (finding that between January 1992 and April 1998, plaintiff worked a total of 91 hours

  per week, and worked an additional three hours per week during the winter months, for a total of

  94 hours per week) (citing Wirtz v. Mississippi Publishers Corp., 364 F.2d 603, 607 (5th

  Cir.1966); Mendez v. Brady, 618 F.Supp. 579, 591 (W.D.Mich.1985)).

         Plaintiffs overwhelmingly met their burden under Mt. Clemens. The burden then shifted

  to Wyndham to come forward with evidence of the precise amount of work performed or with

  evidence to negative the reasonableness of the inference to be drawn from the employee’s

  evidence. Wyndham failed to meet their burden at trial and cannot meet it now.

         Wyndham “cannot be heard to complain that the damages lack the exactness and

  precision of measurement that would be possible had [it] kept records in accordance with the

  requirements of” the FLSA. Mt. Clemens, 328 U.S. at 688. Even in situations where the lack of

  accurate records grows out of a bona fide mistake as to whether certain activities or non-

  activities constitute work, “the employer, having received the benefits of such work, cannot

  object to the payment for the work on the most accurate basis possible under the circumstances.”

  Id. (emphasis added).

         Of course, the “most accurate basis possible” in this case is the estimated average number

  of hours worked from the testimony of those who were victimized by Wyndham’s illegal pay

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  practices. Plaintiffs all testified to the average number of hours they worked each week during

  the Recovery Period, which indicates that they accounted for weeks in which they worked less

  hours, as well as weeks in which the worked more hours. Accordingly, the Court should reject

  Wyndham’s illusory and self-serving damages model and enter an award for Front Line and In

  House Sales Representatives based upon an average of 63.54 hours worked per week, and an

  award for Discovery Representatives based upon an average of 61 hours worked per week

  consistent with the dictates of Mt. Clemens and the only result supported by the evidentiary

  record in this case.

          Awarding Plaintiffs anything less than their estimated average would allow Wyndham to

  simply shirk its statutory duties under the FLSA and reward it with a windfall in violation of

  controlling legal precedent. Wyndham deliberately and consciously failed to keep accurate

  records to pad its bottom line at Plaintiffs’ expense. Wyndham now must face the consequences

  of its willful actions.

          D.      The Record Does Not Support Wyndham’s Frivolous Claim That Discovery
                  Representatives Should Be Dismissed.

          Wyndham’s assertions that Discovery Representatives should be dismissed are frivolous

  at best. First, Wyndham criticizes Plaintiffs for even suggesting that a subclass be created for

  Discovery Representatives, claiming that the Sixth Circuit did not include such instructions in its

  mandate to the District Court. Yet, unlike the Sixth Circuit’s pronouncement that “at the least,

  the [district] court should have created a separate subclass for the discovery employees,”

  nowhere in its opinion did the Sixth Circuit hold, suggest, or even imply that Discovery

  Representatives should be dismissed as now claimed by Wyndham.

          Second, Wyndham criticizes Plaintiff for having only one Discovery Representative,


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  Bobby Stallings, testify at trial. As set forth in Plaintiffs’ opening brief, when considering those

  employees who worked solely as a Discovery Sales Representatives and not as a Front Line or In

  House Sales Representatives, the District Court heard testimony from 1 of the 4 Discovery

  Plaintiffs, or 25% of those who only worked in Discovery. When also considering the 7

  employees who worked in Discovery, as well as Front Line and In House positions, the District

  Court heard testimony from 1 of the 11 Discovery Plaintiffs, or approximately 9%. Even if the

  lesser percentage is used, this percentage is higher than the 5.8% percent of technicians who

  testified in Monroe, which was affirmed by the Sixth Circuit. Thus, Plaintiffs provided sufficient

  representative proof as to Discovery Representatives.

          In addition, Wyndham continues to conveniently ignore the fact that other Sales

  Representatives also testified regarding Discovery Representatives. As set forth in Plaintiffs’

  opening brief and Response, three other Plaintiffs testified as to how late Discovery

  Representatives at the three other Tennessee locations were required to stay at night, which is

  consistent with Mr. Stallings’ testimony.

          Wyndham’s resistance to a sub-class is indicative of the scorched-earth defense tactics it

  has embraced throughout the long six-year history of this case. It is uncontroverted that the

  record demonstrates that Discovery Sales Representatives were similarly-situated to each other

  such that representative proof is proper. However, Wyndham’s obstructive and scorched-earth

  approach has accomplished nothing more than to unnecessarily increase attorney’s fees and

  costs, as-well-as create unnecessary work for the Court. Wyndham should not be rewarded for

  its tactics.   The Court should summarily reject Wyndham’s request to dismiss Discovery

  Representatives, and instead enter an award in their favor based upon an average of 61 hours of

  work per week.

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  II.      CONCLUSION

           For the foregoing reasons, Plaintiffs respectfully request that the Court enter an Order in

  accordance with Mt. Clemens, and find that: 1) Front Line and In House Sales Representatives

  are entitled to damages based upon an average of 63.54 hours of work each week; 2) Discovery

  Sales Representatives are entitled to damages based upon an average of 61 hours of work each

  week; and 3) Defendants are not permitted to file an untimely summary judgment motion

  asserting judicial estoppel in violation of the Sixth Circuit’s limited mandate.5

                                                         Respectfully submitted,

                                                         DICKINSON WRIGHT PLLC

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    Wyndham did not brief the summary judgment issue in its Response. As a result, and in order to conform with the
  requirements of LR 7.1(c) which requires that reply briefs only be used to “directly reply to the points and
  authorities contained in the answering brief,” Plaintiffs do not address this issue in their Reply. Therefore, Plaintiffs
  rely upon the argument in their responsive brief (Doc. 471, pp. 17-20) to oppose Wyndham’s request to file an
  untimely summary judgment motion.

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                                  CERTIFICATE OF SERVICE

         I hereby certify that on October 4, 2019, a true and correct copy of the foregoing has been
  served on the following individuals via the court’s electronic service:

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